        Case 2:07-cr-00614-RB          Document 192         Filed 09/14/09       Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA

               Plaintiff,

v.                                                             No. CR 07-0614 RB
                                                                   CR 09-2479

REBECCA CHRISTIE (a/k/a REBECCA
WULF), and DEREK WULF,

               Defendants.

                            MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendants’ Joint Motion for Bill of Particulars (Doc.

168), filed on August 7, 2009. The Court heard argument on this motion on September 10, 2009.

Having considered the submissions and arguments of counsel, relevant law, and being otherwise

fully advised, I find that this motion should be granted in part as provide herein.

       The purpose of a bill of particulars is to inform the defendant of the charges against him with

sufficient precision to permit him to prepare for trial and to avoid or minimize the danger of surprise

at the time of trial. United States v. Levine, 983 F.2d 165, 166 (10th Cir. 1992). The defendant is

not entitled to notice of all evidence that the government may have, but only the theory of the

government’s case. United States v. Dunn, 841 F.2d 1026, 1030 (10th Cir. 1988).

       In this case, the Second Superseding Indictments include the essential elements of the

charges and provides Defendants with adequate information to allow them to prepare for trial.

Defendants admit that the United States has provided them with over 2,100 pages of discovery.

However, Defendants maintain that they are unable to prepare a defense to the charges covering the

twelve-month period, that is the subject of Counts 2 and 4, without more specific information about
        Case 2:07-cr-00614-RB         Document 192        Filed 09/14/09     Page 2 of 2




what actions the United States claims constituted child abuse out of the myriad actions Defendants

took as parents over the course of a year.

       If there are specific instances of conduct in support of the notion that, during the twelve-

month period at issue, Defendants were not providing the child with proper care or nutrition, the

United States must provide an informative summary of such evidence by September 18, 2009.

       IT IS SO ORDERED.



                                                     ____________________________________
                                                     ROBERT C. BRACK
                                                     UNITED STATES DISTRICT JUDGE
